                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

DONALD J. TRUMP,
                               Plaintiff,

              - against -                       Case No. 1:19-cv-8694-VM

CYRUS R. VANCE, JR., in his official capacity   PLAINTIFF’S OPPOSITION TO
as District Attorney of the County of New       DEFENDANT’S MOTION TO
York,                                           DISMISS AND REPLY IN SUPPORT
                                                OF PLAINTIFF’S EMERGENCY
and                                             MOTION FOR A TEMPORARY
                                                RESTRAINING ORDER AND A
MAZARS USA, LLP,                                PRELIMINARY INJUNCTION
                               Defendants.
                                                           TABLE OF CONTENTS
Table of Authorities .......................................................................................................................................... ii

Introduction ....................................................................................................................................................... 1

Argument ............................................................................................................................................................ 2

      I.           The President is entitled to interim relief under the traditional four-factor test. ................ 3

             A.          Likelihood of Success on the Merits ................................................................................... 3

             B.          Irreparable Harm .................................................................................................................. 13

             C.          Balance of the Equities & Public Interest ........................................................................ 16

      II.          At the very least, the President is entitled to interim relief under the “serious
                   questions” standard. ................................................................................................................... 17

      III.         This Court should be mindful of the subpoena’s looming deadline and afford the
                   President enough time to secure judicial review..................................................................... 18

Conclusion ........................................................................................................................................................ 19




                                                                                   i
                                                     TABLE OF AUTHORITIES
Cases
414 Theater Corp. v. Murphy,
  499 F.2d 1155 (2d Cir. 1974)..................................................................................................................... 11
aaiPharma Inc. v. Thompson,
   296 F.3d 227 (4th Cir. 2002) ..................................................................................................................... 18
Abney v. United States,
  431 U.S. 651 (1977) ...................................................................................................................................... 8
Airbnb, Inc. v. City of New York,
  2019 WL 91990 (S.D.N.Y. Jan. 3, 2019) ................................................................................................. 15
Anwar v. Fairfield Greenwich Ltd.,
  728 F. Supp. 2d 372 (S.D.N.Y. 2010) ........................................................................................................ 3
Arkansas v. Farm Credit Services of Cent. Ark.,
  520 U.S. 821 (1997) .................................................................................................................................... 12
Armstrong v. Exceptional Child Ctr., Inc.,
  135 S. Ct. 1378 (2015) .................................................................................................................................. 3
Black Jack Distributors, Inc. v. Beame,
   433 F. Supp. 1297 (S.D.N.Y. 1977) .................................................................................................... 10, 18
Brennick v. Hynes,
   471 F. Supp. 863 (N.D.N.Y. 1979) .......................................................................................................... 11
Brenntag Int’l Chemicals, Inc. v. Bank of India,
   175 F.3d 245 (2d Cir. 1999) ....................................................................................................................... 14
Carey v. Klutznick,
  637 F.2d 834 (2d Cir. 1980) ....................................................................................................................... 17
Caribbean Produce Exch., Inc. v. Sec’y of Health & Human Servs.,
  893 F.2d 3 (1st Cir. 1989) .......................................................................................................................... 18
Chase Manhattan Bank, N.A. v. Turner & Newall, PLC,
  964 F.2d 159 (2d Cir. 1992) ....................................................................................................................... 14
Clinton v. Jones,
   520 U.S. 681 (1997) ................................................................................................................................ 9, 19
Dennis v. Higgins,
  498 U.S. 439 (1991) ...................................................................................................................................... 3
Dombrowski v. Pfister,
  380 U.S. 479 (1965) .................................................................................................................................... 13
EPIC v. DOJ,
  15 F. Supp. 3d 32 (D.D.C. 2014) .............................................................................................................. 16
Food & Water Watch, Inc. v. Vilsack,
  808 F.3d 905, 913 (D.C. Cir. 2015) ............................................................................................................ 3
G.I. Distributors, Inc. v. Murphy,
  336 F. Supp. 1036 (S.D.N.Y. 1972) ............................................................................................................ 9

                                                                              ii
Gillette v. Cty. of Warren,
  2015 WL 1608826 (N.D.N.Y. Apr. 10, 2015)........................................................................................... 7
Google, Inc. v. Hood,
  822 F.3d 212 (5th Cir. 2016) ..................................................................................................................... 11
Human Touch DC, Inc. v. Merriweather,
  2015 WL 12564166 (D.D.C. May 26, 2015) ........................................................................................... 17
In re Coordinated Pretrial Proceedings in Antibiotic Antitrust Actions,
   520 F. Supp. 635 (D. Minn. 1981) ............................................................................................................ 13
In re Ford Motor Co.,
   110 F.3d 954 (3d. Cir. 1997) ...................................................................................................................... 14
In re Grand Jury Matter #3,
   847 F.3d 157 (3d Cir. 2017) ....................................................................................................................... 14
In re Grand Jury Subpoena,
   866 F.3d 231 (5th Cir. 2017) ..................................................................................................................... 12
Johnson v. City of Shelby,
   135 S. Ct. 346 (2014) .................................................................................................................................. 12
Krahm v. Graham,
  461 F.2d 703 (9th Cir. 1972) ..................................................................................................................... 13
Lauro Lines s.r.l. v. Chasser,
  490 U.S. 495 (1989) ...................................................................................................................................... 8
Leiter Minerals, Inc. v. United States,
  352 U.S. 220 (1957) .............................................................................................................................. 12, 13
Malhan v. Sec’y U.S. Dep’t of State,
  ___ F.3d ___, 2019 WL 4458806 (3d Cir. Sept. 18, 2019) ..................................................................... 7
Mannes v. Gillespie,
  967 F.2d 1310 (9th Cir. 1992) ..................................................................................................................... 8
McNeill v. N.Y.C. Housing Auth.,
  719 F. Supp. 233 (S.D.N.Y. 1989) ........................................................................................................... 12
Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Bishop,
  839 F. Supp. 68 (D. Me. 1993) .................................................................................................................. 14
Mitchum v. Foster,
  407 U.S. 225 (1972) .................................................................................................................................... 12
Monaghan v. Deakins,
  798 F.2d 632 (3d Cir. 1986) ....................................................................................................................... 11
Mulholland v. Marion Cty. Election Bd.,
 746 F.3d 811 (7th Cir. 2014) ..................................................................................................................... 11
Nixon v. Fitzgerald,
  457 U.S. 731 (1982) ...................................................................................................................................... 8
NLRB v. Nash-Finch Co.,
 404 U.S. 138 (1971) .................................................................................................................................... 13


                                                                             iii
NTEU v. DOT,
 838 F. Supp. 631 (D.D.C. 1993) ............................................................................................................... 15
Page v. King,
  932 F.3d 898 (9th Cir. 2019) ....................................................................................................................... 8
People v. Doe,
   96 A.D.2d 1018 (N.Y. App. Div. 1983)..................................................................................................... 9
People v. Merrick Util. Assocs., Inc.,
   575 N.Y.S.2d 634 (Co. Ct. 1991) ................................................................................................................ 9
Providence Journal Co. v. FBI,
   595 F.2d 889 (1st Cir. 1979) ...................................................................................................................... 16
Robert Half Int’l Inc. v. Billingham,
  315 F. Supp. 3d 419 (D.D.C. 2018);......................................................................................................... 17
Saini v. Int’l Game Technology,
   434 F. Supp. 2d 913 (D. Nev. 2006) ........................................................................................................ 17
Show-World Ctr., Inc. v. Walsh,
  438 F. Supp. 642 (S.D.N.Y. 1977) ............................................................................................................ 11
Sprint Communications, Inc. v. Jacobs,
  571 U.S. 69 (2013)................................................................................................................................. 7, 8, 9
Studebaker Corp. v. Gittlin,
   360 F.2d 692 (2d Cir. 1966) ....................................................................................................................... 12
Sullivan v. N.Y.S. Unified Court Sys.,
  2016 WL 3406124 (S.D.N.Y. June 17, 2016) ............................................................................................ 8
Swierkiewicz v. Sorema N.A.,
  534 U.S. 506 (2002) .................................................................................................................................... 12
Tex. Ass’n of Bus. v. Earle,
  388 F.3d 515 (5th Cir. 2004) ..................................................................................................................... 10
U.S. Servicemen’s Fund v. Eastland,
  488 F.2d 1252 (D.C. Cir. 1973)...................................................................................................... 9, 14, 17
United States v. AT&T Co.,
  551 F.2d 384 (D.C. Cir. 1976) ..................................................................................................................... 5
United States v. Composite State Bd. of Med. Examiners,
   656 F.2d 131 (5th Cir. 1981) .................................................................................................................... 10
United States v. Morros,
  268 F.3d 695 (9th Cir. 2001) ..................................................................................................................... 10
United States v. Nixon,
  418 U.S. 683 (1974) ............................................................................................................................ passim
Univ. of Tex. v. Camenisch,
   451 U.S. 390 (1981) ................................................................................................................................. 2, 3
Verlo v. Martinez,
  820 F.3d 1113 (10th Cir. 2016) ................................................................................................................. 17


                                                                             iv
Younger v. Harris,
  401 U.S. 37 (1971)..................................................................................................................................... 3, 8


Other Authorities
28 U.S.C. §2283..................................................................................................................................... 3, 12, 13
42 U.S.C. §1983.................................................................................................................................................. 3
A Sitting President’s Amenability to Indictment and Criminal Prosecution,
  24 O.L.C. Op. 222 (Oct. 16, 2000) ............................................................................................ 5, 6, 15, 17
Alberto R. Gonzales, Presidential Powers, Immunities, and Pardons,
  96 Wash. U.L. Rev. 905 (2019) ................................................................................................................... 5
Ben Protess & William K. Rashbaum, Manhattan D.A. Subpoenas Trump Organization Over Stormy
  Daniels Hush Money, New York Times (Aug. 1, 2019), nyti.ms/2mkfgNd ......................................... 15
Brett M. Kavanaugh, Separation of Powers During the Forty-Fourth Presidency and Beyond,
  93 Minn. L. Rev. 1454 (2009) ................................................................................................................ 7, 18
Brett M. Kavanaugh, The President and the Independent Counsel,
  86 Geo. L.J. 2133 (1998) .............................................................................................................................. 7
Individual Practices II ....................................................................................................................................... 3
Local Rule 6.1(b)................................................................................................................................................ 3
Memorandum for the U.S. Concerning the Vice President’s Claim of Constitutional Immunity,
 In re Proceedings of the Grand Jury Impaneled Dec. 5, 1972, No. 73-cv-965 (D. Md.) ............................. 6, 7
Ronald D. Rotunda, Memo. to Independent Counsel Kenneth Starr Re: Indictability of the President
  (May 13, 1998) ............................................................................................................................................. 18
The Federalist No. 65
  (Alexander Hamilton) (Rossiter ed., 1961)................................................................................................ 7
TRUST Act, 2019 Sess. Law News of N.Y. Chs. 91, 92
  (July 8, 2019) ................................................................................................................................................ 15
William K. Rashbaum & Ben Protess, 8 Years of Trump Tax Returns Are Subpoenaed by Manhattan D.A.,
  New York Times (Sept. 16, 2019), nyti.ms/2lXgQ7c ........................................................................... 15
Wright & Miller, 17A Fed. Prac. & Proc. Juris. §4222 (3d ed.) ................................................................ 12




                                                                                 v
                                          INTRODUCTION
        The Court should grant the President’s request for interim relief, and nothing in the District

Attorney’s opposition indicates otherwise. The District Attorney cannot refute that the constitutional

claim at the heart of this case is serious; indeed, he barely responds on the merits. Instead, the District

Attorney tries to defeat federal jurisdiction by invoking Younger abstention and the Anti-Injunction

Act. But the Supreme Court has held that those narrow restrictions on hearing federal claims do not

apply to a case like this one: a constitutional claim brought by the sitting President arguing that he is

immune from state criminal process. Beyond that, the District Attorney weakly argues that the

President will not suffer irreparable harm if Mazars must comply with the subpoena. But most of that

argument is premised on representations that the District Attorney has made in response to this

litigation. Regardless, the idea that the disclosure of the President’s financial records to the District

Attorney and a grand jury will not cause an injury that cannot be remedied through damages—the

classic formulation of irreparable harm—is self-refuting. And the balance of harms and public interest,

especially given the impossible position that Mazars has been placed in, strongly tip in the President’s

favor. The Court should grant interim relief.

        More broadly, the District Attorney complains that he has been sued in federal court and that

the President did not take this step in response to other investigations. The District Attorney makes

an important point. But not for the reasons he thinks. The President has indeed cooperated with other

investigations; in fact, he cooperated with this investigation. But when the parties disagreed over the

scope of a subpoena issued to the President’s businesses, the District Attorney took an outrageous

step: he photocopied a sweeping congressional subpoena, sent it to the President’s accounting firm,

and demanded compliance on a short fuse in the hope he could strongarm Mazars before the President

could be heard in court. It was the District Attorney’s entire bad-faith demand and course of

conduct—not just a request for tax returns—that led to this dispute. That the President cooperated

with other investigations only proves he has taken a measured approach to invoking rights he holds


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under the Constitution. Had the District Attorney not acted in such an irresponsible and abusive

fashion, the President likely would have cooperated here too.

        Finally, the President respectfully asks the Court to extend the temporary relief currently in

place and provide further guidance on how this case will proceed. As things stand, Mazars must

comply with the subpoena sometime tomorrow. That deadline defeats the very purpose of delaying

enforcement until the Court can decide whether to grant more fulsome interim relief. There can be

no dispute that this is a serious constitutional matter and that, in both previous and ongoing cases,

subpoenas for the President’s records have been stayed (voluntarily or by court order) while the legality

of the demand is tested in court. This is because absent preservation of the status quo before the

compliance deadline, the President would be forced to seek emergency appellate relief before the

district court had the chance to carefully evaluate the merits. And here, that would be especially

inappropriate as it would require the Court to rule on a motion for a stay pending appeal before it

even has the chance to fully consider whether interim relief is warranted. All of this can be avoided by

extending the compliance deadline until seven days after this Court rules on the President’s motion

for a preliminary injunction. If the District Attorney will not agree to this relief, the Court should

order it.

                                            ARGUMENT
        The President is entitled to interim relief—the only question before this Court. While the

District Attorney now asks the Court to treat his opposition as a motion to dismiss, see Doc. 15, that

approach would be improper. “[I]t is generally inappropriate for a federal court at the preliminary-

injunction stage”—much less the TRO stage—“to give a final judgment on the merits.” Univ. of Tex.

v. Camenisch, 451 U.S. 390, 395 (1981). Doing so “improperly equates ‘likelihood of success’ with

‘success’” and “ignores the significant procedural differences” between preliminary injunctions and

the merits. Id. at 394. Preliminary injunctions serve a “limited purpose,” are often litigated in “haste,”




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and involve “procedures that are less formal and evidence that is less complete.” Id. at 395; see Food &

Water Watch, Inc. v. Vilsack, 808 F.3d 905 (D.C. Cir. 2015).

        Nor has the District Attorney followed any of the procedures for a motion to dismiss. The

Local Rules afford the President fourteen days to respond to a motion to dismiss—not one. See Local

Rule 6.1(b). And the District Attorney has not complied with the Court’s conference or letter-filing

requirements that must precede a motion to dismiss. See Individual Practices II.A-B. While the District

Attorney claims to be using this Court’s “expedited procedure” for motions to dismiss, that procedure

must be “agree[d to] on motion by the parties” or “ordered by the Court”—neither of which

happened. Id. II-C. Instead of entertaining the District Attorney’s hasty and procedurally defective

motion, this Court should resolve and grant the only fully briefed motion before it: the President’s

request for interim relief.

I.      The President is entitled to interim relief under the traditional four-factor test.
        A.      Likelihood of Success on the Merits
        The District Attorney makes three arguments for why the President’s constitutional claim is

unlikely to succeed: (1) the Mazars subpoena does not implicate Article II or the Supremacy Clause;

(2) the Court should abstain under Younger v. Harris, 401 U.S. 37 (1971); and (3) the Anti-Injunction

Act, 28 U.S.C. §2283, bars this action. These arguments all fail.1




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          The District Attorney also asserts, in a single conclusory sentence, that the President has “no
cause of action to enjoin state actors for alleged constitutional violations.” Opp. 3 (citing Armstrong v.
Exceptional Child Ctr., Inc., 135 S. Ct. 1378 (2015)). This argument is too undeveloped to warrant the
Court’s consideration. See Anwar v. Fairfield Greenwich Ltd., 728 F. Supp. 2d 372, 457 n.25 (S.D.N.Y.
2010) (Marrero, J.). And it is wrong. The President sued the District Attorney in his official capacity
for prospective relief based on violations of the federal Constitution, including Article II. This suit “to
enjoin unconstitutional actions by state … officers is the creation of courts of equity, and reflects a
long history of judicial review of illegal executive action, tracing back to England.” Armstrong, 135
S Ct. at 1384. The President also has the right to sue the District Attorney for depriving him of “any
rights, privileges, or immunities secured by the Constitution,” 42 U.S.C. §1983; see Dennis v. Higgins,
498 U.S. 439, 443 n.4 (1991) (holding that §1983 allows plaintiffs to vindicate “constitutional
provisions that allocate power”). The President has amended his complaint to make clear that he is
bringing a §1983 action.

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                i.        The District Attorney is likely violating Article II and the Supremacy
                          Clause.
        The District Attorney does not try to argue that New York can criminally prosecute a sitting

President; he merely cites sources suggesting that the law is not “‘settled,’” which is nowhere near a

developed legal position. District Attorney’s Opposition (“Opp.”) 17 n.2. Instead of refuting this

bedrock proposition, the District Attorney contends that it’s not implicated here. In his view, States

have unfettered license to issue grand jury subpoenas to a sitting President, Opp. 15-16; to subpoena

third-party custodians for a sitting President’s records, Opp. 16; and to criminally investigate a sitting

President, Opp. 17-18. These conclusory arguments are not persuasive, are not supported by any

citations to constitutional text, history, or caselaw, and, if accepted, would upend our constitutional

design. The District Attorney’s position is untenable.

        To begin, it is important to note something the District Attorney does not argue. He does not

deny that New York is currently investigating the President for criminal activity, that the President is

a “target” of the subpoena, that the subpoena seeks “his personal records,” or that the subpoena

investigates the Presisdent’s conduct. President’s Brief (“Br.”) 13. The District Attorney candidly

admits that the grand jury is “seeking the books and records … of the President,” Opp. 7-8, is

investigating “business transactions that … includ[e] the President,” Opp. 17, and is pursuing what he

views as illegal “business transactions involving [the President]” and “crimes at the behest of [the

President],” Opp. 14. While the District Attorney says “it is possible” that the grand jury won’t indict

the President, the flipside of that statement is that it is possible that the grand jury will seek to indict

the President. Opp. 8. The District Attorney’s occasional asides about the subpoena being directed at

businesses and employees who are not the President, Opp. 2, 17, are thus not persuasive—especially

since he makes no attempt to disaggregate which parts of the subpoena are directed at the President

and which parts aren’t.




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        For the same reason, this subpoena is distinguishable from the subpoenas issued to Presidents

Nixon and Jefferson. Cf. Opp. 15-16. Those subpoenas asked the President to provide evidence in

someone else’s criminal proceeding; the President was not himself a suspect or a target. See United States

v. Nixon, 418 U.S. 683, 710 (1974) (“In this case the President challenges a subpoena served on him

as a third party”); A Sitting President’s Amenability to Indictment and Criminal Prosecution, 24 O.L.C. Op.

222, 255 & n.32 (Oct. 16, 2000) (“[United States v. Nixon] did not address the interest in facilitating

criminal proceedings against the President” but involved “the withholding of evidence relevant to the

criminal prosecution of other persons”). Indeed, the Nixon Court refused to decide whether a grand

jury could name a sitting President as an unindicted coconspirator. See 418 U.S. at 687 n.2. The

differences between treating the President as a witness in a criminal proceeding and treating him as a

target in a criminal proceeding cannot be overstated. Only the latter carries the “distinctive and serious

stigma,” the “public … allegation of wrongdoing,” and “the unique mental and physical burdens” that

are “placed on a President facing criminal charges.” 24 O.L.C. Op. at 249-52; accord Alberto R.

Gonzales, Presidential Powers, Immunities, and Pardons, 96 Wash. U.L. Rev. 905, 940 n.153 (2019)

(distinguishing “between the President testifying as a nonparty witness and the President testifying as

a criminal defendant, the latter of which” implicates “presidential immunity from investigation,

indictment, and prosecution”).

        That the subpoena here is directed to Mazars, a neutral third-party custodian, changes nothing.

Federal courts recognize that subpoenas to a neutral custodians are, functionally speaking, no different

from subpoenas to the real target of the investigation. See, e.g., United States v. AT&T Co., 551 F.2d

384, 385 (D.C. Cir. 1976) (acknowledging that a congressional subpoena to AT&T for executive-

branch records was really a “clash between the executive and legislative branches” because “AT&T

… has no stake in the controversy beyond knowing whether its legal obligation is to comply with the

subpoena or not”). Here too, the District Attorney does not dispute that he subpoenaed Mazars

“precisely because of [its] connections with the President” and for the express purpose of defeating

                                                    5
the President’s right to object. Br. 13. When the House Oversight Committee issued a virtually

identical subpoena to Mazars, both Congress and the Department of Justice agreed that the subpoena

should be treated as a subpoena against the President himself. See Br. 13; U.S. Amicus Br. 7, Trump v.

Mazars USA, LLP, No. 19-5142 (D.C. Cir.) (“[T]his subpoena is in practical effect no different from

one served on the President…. [It] should be treated for separation-of-powers purposes as if it were

directed to the President.”). The same is true here. The only possible difference between a subpoena

to Mazars and a subpoena to the President, for purposes of Article II, is that a subpoena to Mazars

“relieve[s]” the President “of the physical burden of complying with the subpoena.” U.S. Amicus

Br. 7. That distinction is meaningless, since the President of the United States “would not personally

compile the requested documents even if he were the subpoena’s recipient.” Id.

        Finally, the District Attorney’s attempt to distinguish between “immunity from prosecution

and immunity from investigation” does not hold up. Opp. 17. For one, the President is not challenging

a mere criminal investigation. The New York grand jury is not passively “gather[ing]” or “preserv[ing]”

evidence until the President is no longer in office, as the OLC memorandum contemplates. 24 O.L.C.

Op. at 257 n.36. It has issued a coercive subpoena against the President, for the President’s records,

to determine whether to indict him. This subpoena is an example of the “criminal process” that States

cannot impose on a sitting President. Id. at 236. The notion that a State could issue a grand-jury

subpoena to a sitting President—to investigate his own alleged misconduct, threatening him with

contempt if he does not comply—is unthinkable. See Nixon, 418 U.S. at 691-92. Yet that is what the

District Attorney’s position would allow.

        Even criminal investigations of a sitting President, moreover, can violate Article II and the

Supremacy Clause. When then–Solicitor General Bork wrote that “an incumbent President” cannot

be “subject to the criminal process,” Memorandum for the U.S. Concerning the Vice President’s Claim

of Constitutional Immunity 17, In re Proceedings of the Grand Jury Impaneled Dec. 5, 1972, No. 73-cv-965

(D. Md.), he was discussing a grand jury investigation and a request “to enjoin ‘the Grand Jury from

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conducting any investigation.’” Id. at 3. He understood that, given the Constitution’s provisions

governing impeachment, “congressional investigation must take place in lieu of criminal investigation

when the President is the subject of investigation.” Brett M. Kavanaugh, The President and the Independent

Counsel, 86 Geo. L.J. 2133, 2158 (1998). “Investigation of the President, Hamilton stated, is a kind of

‘NATIONAL INQUEST’ and ‘[i]f this be the design of it, who can so properly be the inquisitors for

the nation as the representatives of the nation themselves.’” Id. (quoting The Federalist No. 65, at 397

(Alexander Hamilton) (Rossiter ed., 1961)). The District Attorney may not circumvent that process.

        On a more practical level, “criminal investigations take the President’s focus away from his or

her responsibilities to the people”; after all, “a President who is concerned about an ongoing criminal

investigation is almost inevitably going to do a worse job as President.” Brett M. Kavanaugh, Separation

of Powers During the Forty-Fourth Presidency and Beyond, 93 Minn. L. Rev. 1454, 1461 (2009). “Even the

lesser burdens of a criminal investigation—including preparing for questioning by criminal

investigators—are time-consuming and distracting.” Id. That is especially true here, where the District

Attorney has subpoenaed not just the President’s tax returns but reams of his private financial records

spanning almost a decade. If New York is correct that its investigation does not implicate the

Constitution, then every State and locality (or, more likely, the ones controlled by the opposite political

party) can use their criminal machinery to “investigate” sitting Presidents and comb through every

aspect of their private lives. Thankfully, the Constitution bars States and localities from shuttering the

presidency—a bar that, until recently, State and local governments respected.

                ii.     Younger abstention likely does not apply.
        The District Attorney asks the Court to dismiss this case under Younger, relying almost entirely

on cases that predate 2013. Opp. 5-7. The problem is that, in Sprint Communications, Inc. v. Jacobs, 571

U.S. 69 (2013), the Supreme Court “clarif[ied]” the narrowness of Younger. Id. at 82; see Malhan v. Sec’y

U.S. Dep’t of State, ___ F.3d ___, 2019 WL 4458806, at *6 (3d Cir. Sept. 18, 2019) (“Sprint narrowed

Younger’s domain”); Gillette v. Cty. of Warren, 2015 WL 1608826, at *6 (N.D.N.Y. Apr. 10, 2015)


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(describing Sprint as a “recent decision which … limited the scope of the Younger abstention doctrine”);

Sullivan v. N.Y.S. Unified Court Sys., 2016 WL 3406124, at *7 (S.D.N.Y. June 17, 2016) (emphasizing

Sprint’s “recent—and very clear—instruction that Younger should be narrowly construed”). Federal

courts, Sprint explained, have a “‘virtually unflagging’” “‘obligation’ to hear and decide a case” within

their jurisdiction. 571 U.S. at 77. They ordinarily “should not refuse to decide a case in deference to

the States,” even when confronted with “the pendency of an action in a state … concerning the same

matter.” Id. at 74 (cleaned up). Abstention under Younger is a “‘narrow’” exception to federal courts’

obligation to decide cases, and it applies only in “‘exceptional’” circumstances. Id. at 77-78, 82. The

Younger doctrine does not apply here for at least four reasons.

        First, abstaining under Younger would cause the President “irreparable harm.” Page v. King, 932

F.3d 898, 904 (9th Cir. 2019); see Younger, 401 U.S. at 53 (holding that abstention is improper “even in

the absence of … bad faith and harassment” if it would cause “irreparable injury”). For example,

courts recognize an “exception” to Younger abstention when the plaintiff alleges that “a state

prosecution will violate the Double Jeopardy Clause.” Mannes v. Gillespie, 967 F.2d 1310, 1312 (9th Cir.

1992). Courts do this because double jeopardy is not just a defense to liability, but a right not to be

prosecuted at all—one that is irreparably lost if it’s not vindicated immediately. Id. at 1312-13 (citing

Abney v. United States, 431 U.S. 651 (1977)). The President’s absolute immunity from state prosecution

while he is President is no different. See Nixon v. Fitzgerald, 457 U.S. 731, 742 (1982) (comparing the

President’s claim of absolute immunity to double jeopardy and holding that it too is irreparably lost if

not vindicated immediately (citing Abney, 431 U.S. 651)); Lauro Lines s.r.l. v. Chasser, 490 U.S. 495, 499-

500 (1989) (explaining that “‘the essence of absolute immunity is its possessor’s entitlement not to

have to answer for his conduct’” and that it “‘is an immunity from suit’”). If anything, Younger

abstention is even less appropriate in this context based on “the special solicitude due to claims alleging

a threatened breach of essential Presidential prerogatives.” Fitzgerald, 457 U.S. at 743 (citing Nixon,

418 U.S. at 691-92).

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        Second, Younger does not apply here because the President has “no adequate remedy under

New York law.” G.I. Distributors, Inc. v. Murphy, 336 F. Supp. 1036, 1039 (S.D.N.Y.), rev’d on other grounds,

469 F.2d 752 (2d Cir. 1972), vacated, 413 U.S. 913 (1973); see Sprint, 571 U.S. at 81. The District Attorney

asserts that the President can raise his constitutional objections in state court, but he never explains

how—an odd omission, since the District Attorney is presumably an expert on New York criminal

procedure. While he cites authorities that allow subpoena recipients to file motions to quash, see Opp.

5, Mazars has no interest in quashing the subpoena and the President cannot force it to file a motion.

See U.S. Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1260 (D.C. Cir. 1973) (explaining that the true

targets of a third-party subpoena “have no alternative means to vindicate their rights” because “they

cannot force the bank’s uninvolved officials to run the risk of contempt citations and criminal trials

to aid the plaintiffs in establishing their [constitutional] rights”), aff’d in relevant part, 421 U.S. 491, 501

n.14 (1975); Nixon, 418 U.S. at 691 (explaining that it is “unlikely that [a] third party would risk a

contempt citation in order to allow immediate review of the [target’s] claim”). And under current New

York law, it does not appear that the President could move to quash a subpoena he did not receive.

See, e.g., People v. Merrick Util. Assocs., Inc., 575 N.Y.S.2d 634 (Co. Ct. 1991) (holding that a criminal

defendant had no standing to challenge a grand-jury subpoena to his accountant for his personal tax

returns); People v. Doe, 96 A.D.2d 1018, 1019 (N.Y. App. Div. 1983) (“[I]f the owner of the records …

is not opposed to producing them [to the grand jury], the customer is powerless to preclude their

production.”). Federal court was the President’s only option.

        Even if the President could technically raise his claim in state court, that forum would not be

truly adequate. Requiring the President to litigate in state court, even over his unofficial conduct,

would risk the kind of “local prejudice that underlies the authority to remove certain cases brought

against federal officers from a state to a federal court.” Clinton v. Jones, 520 U.S. 681, 691 (1997). Indeed,

while Younger is designed to “‘avoid unnecessary conflict between state and federal governments,’”

that ship has already sailed when a State is pursuing criminal process against a sitting President. United

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States v. Morros, 268 F.3d 695, 707 (9th Cir. 2001). Because “‘the state and federal governments are

already in direct conflict before they arrive at the federal courthouse,’” “‘any attempt to avoid a federal-

state conflict would be futile,’” and “the choice of forum” turns on “the fact that the federal

government is asserting its rights against a state and has a great interest in having the federal court

conduct the [constitutional] analysis.” Id. at 707-09; see United States v. Composite State Bd. of Med.

Examiners, 656 F.2d 131, 136 (5th Cir. 1981) (“For the Federal Government and its agencies, … access

to the federal courts is ‘preferable in the context of healthy federal-state relations.’”).

        Third, the “harassment” exception to Younger abstention applies here. Black Jack Distributors,

Inc. v. Beame, 433 F. Supp. 1297, 1304-07 (S.D.N.Y. 1977). The District Attorney’s subpoena to Mazars

cobbled together, virtually word-for-word, two congressional subpoenas—even though New York

has no jurisdiction to investigate the federal issues those subpoenas purport to explore. Am. Compl.

¶¶48-49, 53. The subpoena even requests documents about a hotel in Washington, D.C. that has

absolutely nothing to do with New York. Am. Compl. ¶53. Most of the documents that the subpoena

requests are unrelated to the narrow allegations the District Attorney purports to be investigating. The

President’s personal federal tax returns are one of the most egregious examples, not only because of

their utter irrelevance but also because of the ongoing attempts by the House, New York, and others

to obtain them for partisan reasons. Am. Compl. ¶¶25-41. Tellingly, the District Attorney does not

deny any of these allegations. They certainly “raise the inference” that his “activities have a secondary

motive” and are “going beyond good faith enforcement of the [criminal] laws.” Black Jack, 433 F.

Supp. at 1306-07.

        Fourth, Younger does not apply to federal cases, like this one, that challenge a state grand-jury

subpoena. While “[t]he circuits are split on this issue,” Tex. Ass’n of Bus. v. Earle, 388 F.3d 515, 519

(5th Cir. 2004), the better view is that state grand-jury proceedings do not implicate Younger. The

“holdings and rationales” of the Younger line of cases “adumbrate a clear line: Younger abstention is

appropriate only when there is pending a proceeding in which a state court will have the authority to

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adjudicate the merits of a federal plaintiff’s federal claims.” Monaghan v. Deakins, 798 F.2d 632, 637 (3d

Cir. 1986), vacated in other part, 484 U.S. 193 (1988). Yet a state grand jury does not “adjudicate

anything”; it “proceeds ex parte” and exists only to “charge that the defendant has violated the criminal

law.” Id.; Brennick v. Hynes, 471 F. Supp. 863, 867 (N.D.N.Y. 1979) (explaining that Younger abstention

is inappropriate because a defendant cannot raise constitutional claims before a New York grand jury).

Here, for example, no one contends that a New York grand jury could adjudicate the President’s

claims under Article II and the Supremacy Clause; instead, the District Attorney wants the President

to raise these claims by initiating a new proceeding (i.e., filing a motion to quash) in state court. See

Opp. 5.

          The Younger doctrine has never required that. Rather, when it applies, Younger requires federal

courts to let States decide constitutional questions in “pending” proceedings; it does not require

federal courts “to allow state courts in actions not yet instituted to determine constitutional questions,”

or require plaintiffs to “exhaust[] [state] judicial remedies” before coming to federal court. 414 Theater

Corp. v. Murphy, 499 F.2d 1155, 1161-62 (2d Cir. 1974); see Show-World Ctr., Inc. v. Walsh, 438 F. Supp.

642, 650 (S.D.N.Y. 1977) (explaining Younger does not require plaintiffs to “interven[e]” in another

party’s state proceeding or to “bring its own state court action”); accord Monaghan, 798 F.2d at 638;

Mulholland v. Marion Cty. Election Bd., 746 F.3d 811, 816 (7th Cir. 2014). Cases holding otherwise are

not persuasive, especially after Sprint “clarified the limited reach of Younger.” Google, Inc. v. Hood, 822

F.3d 212, 224 & n.7 (5th Cir. 2016) (concluding that Sprint undermined prior cases applying Younger

abstention to grand-jury subpoenas). Accordingly, the District Attorney’s reliance on Younger is

unpersuasive.

                 iii.    The Anti-Injunction Act likely does not apply.
          The District Attorney’s reliance on the Anti-Injunction Act fares no better. That statute

prohibits federal courts from granting an injunction “to stay proceedings in a State court except as

expressly authorized by Act of Congress, or where necessary in aid of its jurisdiction, or to protect or


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effectuate its judgments.” 28 U.S.C. §2283. The Anti-Injunction Act is inapplicable here for at least

three reasons.2

        First, this action is brought under 42 U.S.C. §1983. “§1983 is an Act of Congress that falls

within the ‘expressly authorized’ exception of that law.” Mitchum v. Foster, 407 U.S. 225, 243 (1972); see

also McNeill v. N.Y.C. Housing Auth., 719 F. Supp. 233, 256 n.29 (S.D.N.Y. 1989). Although the

complaint already gave the District Attorney “fair notice” that this is a §1983 case, Swierkiewicz v. Sorema

N.A., 534 U.S. 506, 512 (2002), the President has amended his complaint to remove any doubt, see

Johnson v. City of Shelby, 135 S. Ct. 346, 347 (2014) (explaining that the Federal Rules do not require

plaintiffs “to invoke §1983 expressly in order to state a claim” and that “add[ing] to the[] complaint a

citation to §1983” solves any possible problem).

        Second, the Anti-Injunction Act is “inapplicable in a suit brought by the National

Government.” Arkansas v. Farm Credit Services of Cent. Ark., 520 U.S. 821, 829 (1997) (citing Leiter

Minerals, Inc. v. United States, 352 U.S. 220 (1957)); see also In re Grand Jury Subpoena, 866 F.3d 231, 233

(5th Cir. 2017). This exception applies whether the party requesting injunctive relief is “the United

States itself,” “a federal agency asserting ‘superior federal interests,’” or “a private party” empowered

to allege that “the very act of prosecuting the state proceeding violated federal law.” Mitchum, 407 U.S.

at 236; Studebaker Corp. v. Gittlin, 360 F.2d 692, 698 (2d Cir. 1966). The exception recognizes that the

justification for applying the Anti-Injunction Act “is much more compelling when it is the litigation

of private parties which threatens to draw the two judicial systems into conflict than when it is the

United States which seeks a stay to prevent threatened irreparable injury to a national interest.” Leiter Minerals,



        2
          While the Anti-Injunction Act is relevant to whether the President is likely to prevail on the
merits, it does not itself prevent the Court from issuing interim relief against the District Attorney or
Mazars. “The law is clear that a federal court has power to issue a temporary restraining order to
preserve existing conditions while it determines whether it has jurisdiction of a matter…. [T]his
principle applies to §2283,” and “a federal court, therefore, can stay state proceedings temporarily
while it considers whether §2283 applies to the case before it.” Wright & Miller, 17A Fed. Prac. &
Proc. Juris. §4222 (3d ed.).

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352 U.S. at 225 (emphasis added). This makes sense. As the Supreme Court has explained, the Anti-

Injunction Act should not be read to permit “frustration of superior federal interests” by “precluding

the Federal Government from obtaining a stay of state court proceedings,” regardless whether one of

the statutory exceptions is satisfied. Id. at 225-226. “The purpose of §2283,” at bottom, “was to avoid

unseemly conflict between the state and the federal courts where the litigants were private persons,

not to hamstring the Federal Government and its agencies in the use of federal courts to protect

federal rights.” NLRB v. Nash-Finch Co., 404 U.S. 138, 146 (1971). As explained, the President seeks

to protect those rights here.

        Third, the Anti-Injunction Act does not apply here for many of the same reasons that Younger

doesn’t. Namely, the President faces irreparable injury. See Krahm v. Graham, 461 F.2d 703, 709 (9th

Cir. 1972) (“[§2283] is ‘inapplicable in extraordinary cases in which an injunction against state court

proceedings is the only means of avoiding grave and irreparable injury’”); In re Coordinated Pretrial

Proceedings in Antibiotic Antitrust Actions, 520 F. Supp. 635, 662 (D. Minn. 1981) (similar). And a grand

jury does not constitute a pending “proceeding[] in a State court,” 28 U.S.C. §2283; see Dombrowski v.

Pfister, 380 U.S. 479, 485 n.2 (1965).

                                           *       *        *
        In sum, this federal case brought by a federal official to vindicate federal rights belongs in

federal court. Neither the Younger doctrine, the Anti-Injunction Act, nor the District Attorney’s tepid

response on the merits suggests otherwise. For all of these reasons, the President will likely prevail on

the merits of his constitutional claim.

        B.      Irreparable Harm
        The President will also suffer irreparable harm absent interim relief. If Mazars divulges his

information before he can obtain interim relief, he will forever lose two things: the confidentiality of

his private financial information, and his right to secure judicial review of his constitutional claim.

Br. 7-8. Now that the President has filed this action, the District Attorney has suddenly promised to


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“destroy or return” any information it receives from Mazars and to never “us[e]” it, should the

President ultimately prove that the subpoena is unconstitutional. Opp. 13. The District Attorney also

represents that, no matter what, it will keep the President’s information “confidential[]” and that

exposing it to the public would be a “deliberate violation of New York state law.” Opp. 13. While the

President appreciates these representations and will hold the District Attorney to them, they do not

resolve the President’s irreparable injuries.3

        Once the private information that the President confidentially entrusted to Mazars is shared

beyond the scope of that confidence, no amount of document destruction or secret-keeping will be

able to “return[] [the parties] to the positions they previously occupied.” Brenntag Int’l Chemicals, Inc. v.

Bank of India, 175 F.3d 245, 249 (2d Cir. 1999); see Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Bishop,

839 F. Supp. 68, 72 (D. Me. 1993) (“Once confidentiality is breached, the harm is done and cannot be

undone.”). The President will lose control of his private information, and confidentiality with Mazars

will be breached. Just as “attorneys cannot unlearn what has been disclosed to them in discovery,”

Chase Manhattan Bank, N.A. v. Turner & Newall, PLC, 964 F.2d 159, 165 (2d Cir. 1992), neither the

District Attorney’s office nor the grand jury will be able to “erase from its memory” information

illegally obtained during the course of an investigation, In re Grand Jury Matter #3, 847 F.3d 157, 164

(3d Cir. 2017). Any information produced is sure to affect strategic thinking and decisions going

forward, for “there is no way to unscramble the egg scrambled by the disclosure.” In re Ford Motor Co.,

110 F.3d 954, 963 (3d. Cir. 1997), abrogated on other grounds by Mohawk Indus., Inc. v. Carpenter, 558 U.S.

100 (2009); see Eastland, 488 F.2d at 1267 (holding that “there can be no doubt that … immediate and

irreparable injury would result from the execution of the subpoena” because Congress could use the

plaintiffs’ records to “‘furnish leads for further investigation’”). Even if the information never



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         The District Attorney’s promise to destroy or return the President’s information does,
however, prevent this case from becoming moot in the event that Mazars is forced to comply with
the subpoena as this litigation proceeds.

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becomes public, disclosure to New York still irreparably harms the President. See NTEU v. DOT, 838

F. Supp. 631, 640 (D.D.C. 1993) (“[O]nce … highly personal information is disclosed to the

government, the revelation cannot be undone.”); Airbnb, Inc. v. City of New York, 2019 WL 91990, at

*23-24 (S.D.N.Y. Jan. 3, 2019) (same). It is cold comfort to the President that only the District

Attorney and the grand jury—institutions currently deciding whether to indict him for a crime—will

have his information.

        But public disclosure is also a very real threat. Once the District Attorney has the President’s

information, New York could amend its grand-jury secrecy laws at any time. That might sound far-

fetched, but New York has a track record of amending its laws with the specific aim of disclosing this

President’s private financial information. See TRUST Act, 2019 Sess. Law News of N.Y. Chs. 91, 92

(July 8, 2019) (Senate Bill S6146; Assembly Bill A7750). And given Congress’s shared interest in the

President’s financial information, Am. Compl. ¶¶26-32, it is fair to worry that Congress would

subpoena the District Attorney’s office if it knew the District Attorney had this information. Or,

someone in the District Attorney’s office could leak the President’s information to the public. The

District Attorney finds this concern “outrageous,” Opp. 13, but someone leaked the details of the

investigation and subpoena in this case to the press—and it wasn’t the President. See, e.g., William K.

Rashbaum & Ben Protess, 8 Years of Trump Tax Returns Are Subpoenaed by Manhattan D.A., New York

Times (Sept. 16, 2019), nyti.ms/2lXgQ7c; Ben Protess & William K. Rashbaum, Manhattan D.A.

Subpoenas Trump Organization Over Stormy Daniels Hush Money, New York Times (Aug. 1, 2019),

nyti.ms/2mkfgNd. Even putting leaks aside, it “would be very difficult to preserve [the] secrecy” of

information about the President, and trusting this information to state secrecy laws would be taking

“an unacceptable gamble with fundamental constitutional values.” 24 O.L.C. Op. at 259 n.38; see, e.g.,

Nixon, 418 U.S. at 688 n.4 (explaining that the district court had to “lift its protective order” on certain

grand-jury information about the President because “the disclosures to the news media made the

reasons for continuance of the protective order no longer meaningful”).

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        The District Attorney makes one final attempt to undermine the President’s claim of

irreparable injury. He argues, bizarrely, that the President cannot be harmed by this investigation

because he cooperated with certain federal investigations. Opp. 14. This argument fails on multiple

fronts. Initially, the President should not be punished for cooperating with investigators, trying to reach

an amicable resolution, and avoiding litigation when possible. The fact that he did not assert a right in

other circumstances says nothing of whether he had a right to assert. More to the point, unlike here,

those investigations did not use compulsory process to obtain wide-ranging confidential records in an

attempt to recreate his financial history, and did not attempt to end-run the President when

negotiations stalled. To the contrary, the parties in those investigations worked together to avoid

constitutional issues. Then, when the President offered the same cooperation here, the District

Attorney decided to issue a flagrantly abusive subpoena to the President’s custodian. Put simply, the

threatened harm is not somehow less “irreparable” because the President has consistently done

everything in his power to help avoid it.

        C.      Balance of the Equities & Public Interest
        Because the District Attorney is a governmental defendant, the balance of equities and the

public interest largely merge in this case, and both tip decidedly in favor of interim relief. The District

Attorney does not attempt to counter the benefits that preserving the status quo would have for

Mazars, Br. 15—which, on their own, put substantial weight on the President’s side of the scale. While

the District Attorney claims that interim relief would frustrate the administration of New York

criminal law, his concern is overstated.

        Interim relief is a delay, not a bar—it only “postpones the moment of disclosure … by

whatever period of time may be required” to adjudicate the merits of the President’s claim. Providence

Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979). This short delay is “insufficient” to constitute

meaningful harm. See EPIC v. DOJ, 15 F. Supp. 3d 32, 47 (D.D.C. 2014). The District Attorney would

be delayed from obtaining only the information in Mazars’ possession, but he has made no assertion


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whatsoever that this information is uniquely important, much less that he needs it to file criminal

charges within the limitations period. The statute of limitations, moreover, is fully within New York’s

control, and tolling might be available until the President leaves office. 24 O.L.C. Op. at 256 & n.33.

Even without tolling, New York County’s interest in the immediate enforcement of its criminal laws

could not outweigh the nation’s interest in “the function of an entire branch of government.” Id. at

257; see id. at 256 (explaining that avoiding a statute of limitations is not of “significant constitutional

weight” compared to the burdens placed on a sitting President).

        The negligible burden of delay must be weighed against the President’s interest in avoiding

unconstitutional prosecution, the public’s interest in preventing the violation of constitutional rights,

see Verlo v. Martinez, 820 F.3d 1113, 1127 (10th Cir. 2016), and the public’s interest in protecting the

confidentiality of private information, see Robert Half Int’l Inc. v. Billingham, 315 F. Supp. 3d 419, 435

(D.D.C. 2018); Saini v. Int’l Game Technology, 434 F. Supp. 2d 913, 925 (D. Nev. 2006); Human Touch

DC, Inc. v. Merriweather, 2015 WL 12564166, at *5 (D.D.C. May 26, 2015). It is no contest. The balance

of the equities and the public interest strongly support preserving the status quo and granting the

President interim relief.

II.     At the very least, the President is entitled to interim relief under the “serious
        questions” standard.
        The District Attorney does not dispute that the President, as an alternative to proving likely

success on the merits, can obtain interim relief if he identifies “‘sufficiently serious questions going to

the merits to make them a fair ground for litigation.’” Br. 3-4, 6, 13-15. The District Attorney was

right to concede that the standard applies here. See Carey v. Klutznick, 637 F.2d 834, 839 (2d Cir. 1980);

Eastland, 488 F.2d at 1256. And the President easily satisfies it.

        This case is rife with serious questions of first impression. According to the District Attorney,

even the most basic question at the heart of this case—whether a State can criminally prosecute a

sitting President—has generated “widespread disagreement” and comes with “absolutely no guidance



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from the courts.” Opp. 17. Distinguished jurists agree that this question is “serious.” Kavanaugh, 93

Minn. L. Rev. at 1486 n.31. Even the District Attorney’s “le[ast] equivocal” source is, well, equivocal.

Opp. 17; see Ronald D. Rotunda, Memo. to Independent Counsel Kenneth Starr Re: Indictability of the President

(May 13, 1998) (“I express no opinion as to whether a prosecution by state authorities may be proper

(a state prosecution may violate the Supremacy Clause).”).

        Beyond this fundamental difficulty, this case presents many more serious questions about what

it means to subject a President to criminal process, whether and when criminal investigations cross

the constitutional line, and how to apply these principles to third-party custodians and closely held

businesses. And the District Attorney’s defenses implicate, at a minimum, a circuit split over the scope

of Younger and a fact-intensive dispute over the presence of harassment. See supra I.A.ii; Black Jack, 433

F. Supp. at 1307 (the harassment exception to Younger required further development than “the present

record” but that “plaintiffs have raised sufficiently serious questions as to the existence of such

conduct to warrant the issuance of a preliminary injunction”).

        In short, this Court should grant interim relief so it can consider these momentous

constitutional issues “with the full battery of legal arguments before it.” aaiPharma Inc. v. Thompson, 296

F.3d 227, 234-35 (4th Cir. 2002). Granting the President’s motion will spare him irreparable harm,

benefit Mazars, negligibly affect the District Attorney, and allow the parties to move beyond the

“‘abbreviated and only partially informed presentation of the merits’” that occurs when they “address[]

only issues of preliminary relief.” Id.; accord Caribbean Produce Exch., Inc. v. Sec’y of Health & Human Servs.,

893 F.2d 3, 6-7 (1st Cir. 1989).

III.    This Court should be mindful of the subpoena’s looming deadline and afford the
        President enough time to secure judicial review.
        As the Court is well aware, the District Attorney’s subpoena to Mazars was originally due on

September 19. The District Attorney agreed to extend that deadline “until Wednesday, September 25,

2019 at 1:00 pm.” Doc. 4. But because the President’s brief is due on September 24, and the hearing



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is scheduled for the morning of September 25, the District Attorney’s extended deadline does not give

this Court enough time to reach a fully informed decision. And it certainly does not give the President

enough time to appeal a denial of his request for emergency relief, if necessary, to the Second Circuit

and the Supreme Court.

        No matter who ultimately prevails in this case, the President of the United States has a right

to be heard and to appeal any adverse decision. See, e.g., Nixon, 418 U.S. at 714 (“Enforcement of the

subpoena duces tecum was stayed pending this Court’s [decision]”). The President’s access to judicial

review should not be cut short—and his right to confidentiality should not be forever breached—

because the District Attorney arbitrarily ran out of the clock. Thus, this Court should at least stay the

subpoena while the President’s motion is pending, plus one week after the Court’s decision. Notably,

both Congress and the State of New York have agreed to that same relief in other cases against the

President. See Br. 2; Doc. 29, Trump v. Comm. on Ways & Means, No. 19-cv-2173 (D.D.C.). The District

Attorney has offered no convincing basis for his refusal to offer the same thing here. Even accepting

his exaggerated assertions of harm, he still has “months” before any statute of limitations would

possibly run. Opp. 19; cf. Jones, 520 U.S. at 686-87 (noting the President offered “‘to toll any statutes

of limitation’” for a limited time).

        In all events, the President asks the Court to inform him—as early as possible on September

25—its intentions regarding the subpoena’s looming 1:00 P.M. deadline. Absent preservation of the

status quo before that deadline, the President will need to seek appellate relief. But there is no need to

burden the courts with emergency requests when the status quo can and should be preserved for (at

a minimum) seven days after the Court rules on the President’s preliminary-injunction motion. In the

alternative, the President asks the Court for a stay pending appeal while he seeks relief from the Second

Circuit and the Supreme Court.

                                           CONCLUSION
        This Court should grant the President’s motion for interim relief.


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Dated: September 24, 2019                               Respectfully submitted,

                                                         s/ William S. Consovoy
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